438 F.2d 1223
    71-1 USTC  P 9245
    UNITED STATES of America, Plaintiff-Appellee,v.John W. FLANAGAN, Defendant-Appellant.No. 30533 Summary Calendar.** Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    March 2, 1971, Rehearing Denied April 12, 1971.
    
      James R. Gillespie, San Antonio, Tex., for defendant-appellant.
      Seagal V. Wheatley, U.S. Atty., Reese L. Harrison, Jr., Asst. U.S. Atty., San Antonio, Tex., Johnnie M. Walters, Asst. Atty. Gen., Meyer Rothwacks, Joseph M. Howard, Richard B. Buhrman, Attys., Tax Div., Dept. of Justice, Washington, D.C., for plaintiff-appellee.
      Before WISDOM, COLEMAN and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      John W. Flanagan was convicted of wilfully attempting to evade his federal income taxes for the years 1963 and 1964, in violation of 7201 of the Internal Revenue Code.  On appeal, Mr. Flanagan complains only of the denial of a motion for a bill of particulars and the admission of a government exhibit (204).
    
    
      2
      As to the bill of particulars, the prosecution stated at the hearing on the motion that the government would rely on the omission of specific items of income, all of which were included in a thirteen page report which had been turned over to the defense.  The denial of the bill of particulars was not in error, Demetree v. United States, 5 Cir., 1954, 207 F.2d 892, 894.
    
    
      3
      The complaint about the admission of the exhibit (checks written by the defendant) is likewise without merit.
    
    
      4
      The judgment of conviction must be, and is,
    
    
      5
      Affirmed.
    
    